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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )                 8:22CR51
                                           )
      vs.                                  )
                                           )
CHRISTOPHER EVANS,                         )                   ORDER
                                           )
                   Defendant.              )


      This matter is before the court on the defendant, Christopher Evans’ Motion to
Continue Trial [75]. Counsel needs additional time to handle matters for his client in
Douglas County Court and to pursue plea negotiations. The undersigned magistrate
judge finds that good cause has been shown for the requested continuance.
Accordingly,

      IT IS ORDERED that the Motion to Continue Trial [75] is granted, as follows:

      1. The jury trial now set for June 5, 2023, is continued to July 17, 2023.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and July 17, 2023, shall be deemed excludable time in any computation
         of time under the requirement of the Speedy Trial Act. Failure to grant a
         continuance would unreasonably deny the defendant continuity of counsel,
         and would deny counsel the reasonable time necessary for effective
         preparation, taking into account the exercise of due diligence. 18 U.S.C. §
         3161(h)(7)(A) & (B)(iv).

      DATED: May 31, 2023.

                                        BY THE COURT:


                                        s/ Michael D. Nelson
                                        United States Magistrate Judge
